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                   Exhibit 18
                                Case 3:16-cr-00411-VC Document 116-18 Filed 09/19/17 Page 2 of 2
(22822 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                        8/22/17, 4)37 PM


    Home         Mail      Search       News      Sports     Finance      Celebrity    Weather      Answers       Flickr      Mobile   More


                                        All    Naum Morgovsky, search your mailbox                            Search Mail         Search Web          Home          N



                                   Re: Moving
                                             Re:
                                               forward
                                                 Your PO:
                                                       Re: JAN-0114*,
                                                           ITAR survey
                                                                 RE: ITAR
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                                                                          survey
                                                                          Re:sales
                                                                              Your order:
                                                                                   PO:
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                                                                                        JAN-0114
                                                                                          907923
                                                                                              Shipment 907150-01
                                                                                                       Notification
                                                                                                                 Order Acknowledgement
                                                                                                                          Re: My declaration
                                                                                                                                   NaumforMorgovsly
                                                                                                                                             PO#
                                                                                                                                             yanaJAN-0312
                                                                                                                                                     Re: PW2013
                                                                                                                                                             lenses30-50-100
                                                                                                                                                                follow Re:
                                                                                                                                                                       up Naum

     Compose                             Search results                      Archive      Move           Delete        More


  Inbox (9999+)                         Re: Naum
  Drafts (228)
  Sent                                  Naum Morgovsky <naummorgovsky@yahoo.com>                                      02/19/13 at 4:59 PM
                                        To Devin Standard
  Archive

  Spam (42)                             Hi Devin,
  Trash
                                        Attached are the forms containing the desired specs for lens sets we discussed at
  Smart Views                           the show accompanied by rough sketches pertaining to them.
    Important                           Please let me know if you need any additional information.
    Unread
                                        Best wishes, Naum
    Starred
    People
                                        From: Devin Standard <Devin.Standard@Janostech.com>
    Social
                                        To: Naum Morgovsky <naummorgovsky@yahoo.com>
    Shopping                            Cc: Tim Olsen <TOlsen@Janostech.com>
    Travel                              Sent: Tuesday, November 20, 2012 6:51 AM
    Finance                             Subject: RE: Naum
    silverman
                                        Hi Naum:
    mseymour
                                        Good.
    bartfield                           Your lenses are shipping tomorrow.
    montgomery                          I just got the update.
    seymour                             Rgds,
    rosas
                                        Devin S. Standard
    cheo                                Senior Account Manager
  Folders                               Janos Technology
                                        The Power of Focus
    Drafts
                                        WWW.JanosTech.com
    Notes                               Devin.Standard@Janostech.com
    Sent Messages                       (603) 313-2502
    untitled

  Sponsored                                                        BOOTH: # 1736

                                        Conference Dates: Feb. 5 – 7th
                                        The Moscone Center
                                        San Francisco, CA

  Journalistate
  Hilarious Cat Snapchats You
  Just Have to See
                                        Stop by & see us. Booth #1736




                                        From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
                                        Sent: Monday, November 19, 2012 6:09 PM
                                        To: Devin Standard
                                        Subject: Re: Naum

                                        Yes. Thank you.


                                        From: Devin Standard <Devin.Standard@Janostech.com>
                                        To: Naum Morgovsky <naummorgovsky@yahoo.com>
   Try the new Yahoo Mail               Cc: Tim Olsen <TOlsen@Janostech.com>


https://mg.mail.yahoo.com/neo/launch?.rand=bfv46471ca0e4#7787581314                                                                                                Page 1 of 1
